Case 2:24-cv-01608-WSS   Document 37-25   Filed 02/14/25   Page 1 of 2




                    Exhibit 21
                  Case 2:24-cv-01608-WSS                          Document 37-25                Filed 02/14/25              Page 2 of 2

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 R.E. YOUNGBLOOD MINISTRIES




                                                        ABOUT FOUNDER


                                                         About Apostle Richard E. Youngblood

                                                         Apostle Youngblood is a Man of God who is on fire!! The Holy Ghost mandate on his life is that all
                                                         whom he comes in contact with are equipped to do the Will of
                                                         God for their lives. Apostle is a much sought after preacher both
                                                         nationally and internationally. He flows heavily The Prophetic
                                                         Word as well as Word of Wisdom and Word of Knowledge.

                                                         He has been called by many to be the preachers preacher. Raised
                                                         by saved parents, Apostle Youngblood received a significant
                                                         spiritual deposit from his early youth. Baptized in The Holy Ghost
                                                         at an early age, Apostle Youngblood led thousands into the
                                                         presence of God through praise and worship. Called to ministry at
                                                         19, Apostle Youngblood has now entered his third decade of
                                                         preaching.

                                                         He has served as personal assistant and Adjutant to Bishop T.D.
                                                         Jakes. He is The Founder and Chief Prelate of Greater Hope International Covenant of Churches
                                                         with Ministries nationally and internationally. He has ministered along side many of today’s
                                                         Generals in The Body of Christ.

                                                         Apostle Youngbloods' leadership style causes many to refer to him as their spiritual father and he
                                                         has the true spirit of a father. Called to raise up a generation who knows God intimately, Apostle
                                                         Youngblood's preaching style will energize you as well as admonish you to reach you destiny even
                                                         if you have to reach it with help from God alone.



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